Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Even Stevens Sandwiches, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1225 E. Fort Union Blvd., Suite 200                             2030 S. 900 E. Suite A
                                  Midvale, UT 84047                                               Salt Lake City, UT 84105
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Salt Lake                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       evenstevens.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Even Stevens Sandwiches, LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Even Stevens Sandwiches, LLC                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Even Stevens Sandwiches, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 21, 2019
                                                  MM / DD / YYYY


                             X   /s/ Brooks Pickering                                                     Brooks Pickering
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   Manager




18. Signature of attorney    X   /s/ Pernell W. McGuire                                                    Date March 21, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Pernell W. McGuire 015909
                                 Printed name

                                 Davis Miles McGuire Gardner, PLLC
                                 Firm name

                                 40 E. Rio Salado Parkway, Suite 425
                                 Tempe, AZ 85281
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (480) 733-6800                Email address      azbankruptcy@davismiles.com

                                 015909 AZ
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Even Stevens Sandwiches, LLC
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                          Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Automatic Data                                                  Goods and                                                                                              $189,169.69
 Processing                                                      services
 One ADP Boulevard
 Roseland, NJ 07068
 Bill Baer                                                       Convertible Note                                   $339,000.00                        $0.00            $339,000.00
 9705 Moss Rose
 Circle
 Highland Ranch, CO
 80219
 Brian & Bentley                                                 Convertible Note                                   $116,903.22                        $0.00            $116,903.22
 Schoening

 Byron Andrew                                                    Convertible Note                                   $438,700.00                        $0.00            $438,700.00
 Brown
 6812 Silver Saddle
 Rd.
 Fort Worth, TX
 76126
 Daniel Bickel &                                                 loan                                                                                                   $125,000.00
 Alexandra Cristescu
 16455 NE 85th
 Street Suite 101
 Redmond, WA
 98052
 Drive Marketing                                                 Goods and                                                                                              $121,068.80
 8689 South 700                                                  services
 West
 Sandy, UT 84070
 Edward Wagner                                                   Convertible Note                                   $224,000.00                        $0.00            $224,000.00
 17383 Sunset Blvd,
 STE A230
 attn: Personal
 Pacific Palisades,
 CA 90272
 Floyd Arthur Petty                                              Convertible Note                                   $113,000.00                        $0.00            $113,000.00
 8638 Moorland Ln.
 Colorado Springs,
 CO 80927

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 John Quinn                                                      loan                                                                                                   $125,000.00
 8486 Benicasim Ct
 Las Vegas, NV
 89178
 Les B. Cohen                                                    Convertible Note                                   $113,000.00                        $0.00            $113,000.00
 15000 7th St. STE
 102
 Victorville, CA 92395
 Madison Trust                                                   Convertible Note                                   $113,000.00                        $0.00            $113,000.00
 Company FBO
 Robbie Mathews
 21 Robert Pitt Dr.
 Monsey, NY 10952
 Madison Trust                                                   convertible note                                   $113,000.00                        $0.00            $113,000.00
 Company FBO
 Kevin Williams
 21 Robert Pitt Dr.
 Monsey, NY 10952
 Madison Trust                                                   Convertible Note                                   $226,000.00                        $0.00            $226,000.00
 Company FBO
 Peter Maricich
 21 Robert Pitt Dr.
 Monsey, NY 10952
 Micah Bickel                                                    loan                                                                                                   $125,000.00
 7109 Greenwood
 Avenue N.
 Seattle, WA 98103
 Mickey Lynn Turner                                              Convertible Note                                   $113,000.00                        $0.00            $113,000.00
 16 Glen Iris Park
 Birmingham, AL
 35205
 Rexford Enterprise                                              Convertible Note                                   $207,000.00                        $0.00            $207,000.00
 LP
 267 2nd Ave
 Salt Lake City, UT
 84103
 Samson Exchange                                                 Convertible note                                   $226,000.00                        $0.00            $226,000.00
 2601 Blanding Ave,
 C307
 Alameda, CA 94501
 Suzanne Down                                                    Convertible Note                                   $113,000.00                        $0.00            $113,000.00
 2130 Arthur Street
 Klamath Falls, OR
 97603
 The Randall &                                                   unsecured loan                                                                                         $115,000.00
 Cynthia Snow
 Family Trust
 PO Box 11670
 Olympia, WA 98508
 Trevor Tsuchikawa                                               Loan                                                                                                   $125,000.00
 7157 171st Ave SE
 Bellevue, WA 98006


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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7SHIFTS
#200-701 BROADWAY AVE.
SASKATCHEWAN, CANADA S7N 1B3


90.0FM KRCL
1971 W. NORTH TEMPLE
SALT LAKE CITY UT 84116


AARON & JILL SAUER
102 N. WILHELM AVE
ELLINWOOD KS 67526


ADAM FUSCO
168 N. VICTOR WAY
CROSSVILLE TN 38555


AL TRIPAM
6638 MAJESTIC DRIVE
FORT COLLINS CO 80528


ALLEN & NANCY WALTERS
8965 BIG CANNON PLACE
GREENWOOD VILLAGE CO 80111


ALLY FINANCIAL
200 RENAISSANCE COURT
DETROIT MI 48243


AMERI-ASIAN
2601 BLANDING AVE, C307
ALAMEDA CA 94501


AMY SAYAMA, TRUSTEE OF THE AMY SAYAMA
TRUST DATED MAY 11, 2016
25575 ARAGON WAY
YORBA LINDA CA 92887


ANNE MCCARTNEY
6761 MARSHALL ST.
FORT HOOD TX 76544


ANTHONY SHARBER
PO BOX 1759
GLEN ROSE TX 76043


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ARIZONA DEPARTMENT OF REVENUE
C/O TAX, BANKRUPTCY AND COLLECTION SEC.
2005 NORTH CENTRAL AVENUE
PHOENIX AZ 85004-1592


AUTOMATIC DATA PROCESSING
ONE ADP BOULEVARD
ROSELAND NJ 07068


BENEFITS ADMINISTRATION



BETSY STUMMER
3231-13TH ST
KENOSHA WI 53144


BETTYE TAYLOR
PO BOX 14276
AUSTIN TX 78761


BIG RED JELLY LLC
1500 TECHNOLOGY WAY, BLDG. D
OREM UT 84097


BILL BAER
9705 MOSS ROSE CIRCLE
HIGHLAND RANCH CO 80219


BLUEFIN
PO BOX 1960
CLEARFIELD UT 84089-1960


BRAD JOHNSON
5820 S. TULCATE WOODS LANE
SALT LAKE CITY UT 84121


BRENT D. PULLEY, DMD, LTD.
1442 E CHANDLER BLVD STE 110
PHOENIX AZ 85048


BRIAN & BENTLEY SCHOENING




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BRIAN & BENTLEY SCHOENING
322 N SAINT ASAPH STREET
ALEXANDRIA VA 22314


BROADWAY MEDIA
50 W BROADWAY, SUITE 200
SEATTLE WA 98119


BRUCE BAUMAN & LEIGH SCHNAIDT
1319 W. CAROLINE LANE
TEMPE AZ 85284


BYRON ANDREW BROWN
6812 SILVER SADDLE RD.
FORT WORTH TX 76126


CAPROCK HOSPITALITY GROUP
4890 ALPHA ROAD, SUITE 200
DALLAS TX 75244


CHOWLY
444 N. MICHIGAN AVE., SUITE 650
CHICAGO IL 60611


CHRYSLER CAPITAL
BANKRPUTCY DEPARTMENT
5201 RUFE SNOW DRIVE, SUITE 400
NORTH RICHLAND HILLS TX 76180


CIELKA INVESTMENTS, LLC
C/O GERRI SUMME
9503 WHEATLAND AVE
SUNLAND CA 91040


CINTAS CORPORATION
800 CINTAS BOULEVARD, PO BOX 625737
CINCINNATI OH 45262-5737


CITIZEN'S ONE AUTO FINANCE
P.O. BOX 42113
PROVIDENCE RI 02940-2113




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COLORADO DEPARTMENT OF REVENUE
ATTN: BANKRUPTCY UNIT
PO BOX 17087
DENVER CO 80217


COMCAST
ONE COMCAST CENTER
PHILADELPHIA PA 19103


DANIEL BICKEL & ALEXANDRA CRISTESCU
16455 NE 85TH STREET SUITE 101
REDMOND WA 98052


DANIEL COUPLAND & DEBBY STIMMLER
3240 BRITTAN AVE
SAN CARLOS CA 94070


DAVID ARTHUR & SUZANNE SHAY
8846 NE 161ST PLACE
KENMORE WA 98028


DAVID KIM LY
3019 ROSSMORE WAY
SAN JOSE CA 95148


DEBORAH SEAL
850 SANDS LANE
CAMANO ISLAND WA 98282


DESIGN BLUE
947 SW BROADWAY
PORTLAND OR 97205


DOCUMART
1615 W 2200 S , STE C
SALT LAKE CITY UT 84119


DOMINION ENERGY



DOORDASH, INC.
901 MARKET STREET, SUITE 600
SAN FRANCISCO CA 94103



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DOUG AND DONNA KRUMEL
316 PARADISE HILLS
NEW BRAUNFELS TX 78132


DRIVE MARKETING
8689 SOUTH 700 WEST
SANDY UT 84070


DRMH, LLC
PO BOX 65727
SALT LAKE CITY UT 84165


ECOLAB, INC.
24198 NETWORK PLACE
CHICAGO IL 60673-1241


EDWARD WAGNER
17383 SUNSET BLVD, STE A230
ATTN: PERSONAL
PACIFIC PALISADES CA 90272


ERIC RAWLIN
2019 WEST 1900 SOUTH #100
SYRACUSE UT 84075


ESBE STRATEGIC PARTNER, INC.
2198 COUNTRY COVE COURT
LAS VEGAS NV 89135


EXECUTECH
1314 WEST 11400 SOUTH, SUITE 200
SOUTH JORDAN UT 84095


FLOYD ARTHUR PETTY
8638 MOORLAND LN.
COLORADO SPRINGS CO 80927


FORREST ANDERSON PLUMBING
17225 N. 63RD AVENUE
GLENDALE AZ 85308-3715


FREEMAN LOVELL, PLLC
9980 S 300 W, STE 200
SANDY UT 84070


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GERARD AND JANEL TIMMINS
3555 HAY CREEK RD.
COLORADO SPRINGS CO 80921


GLOBAL UPRISING
74 S MAIN ST
SALT LAKE CITY UT 84101


GREGG TALBERT LLC 401K PLAN TRUST
7314 SOUTH DOWNING CIRCLE WEST
WEST CENTENNIAL CO 80122


HIRSCHI BAER & CLAYTON, PLLC
136 E SOUTH TEMPLE
SALT LAKE CITY UT 84111


HOA DUONG
4420 RED MAPLE COURT
CONCORD CA 94521


IDAHO TAX COMMISSION
P.O. BOX 36
BOISE ID 83722


INCENTIVIO
19 CROSBY DRIVE, SUITE 160
BEDFORD MA 01730


INTERNAL REVENUE SERVICE
BANKRUPTCY AND COLLECTION ENFORCEMENT
P.O. BOX 7346
PHILADELPHIA PA 19101-7346


IRA SERVICES TRUST COMPANY FBO
CONNIE WALTZ ZDRAZIL IRA
1160 INDUSTRIAL AVE, STE 1
SAN CARLOS CA 94070


IRA SERVICES TRUST COMPANY FBO
DEBORAH MORRIS IRA
1160 INDUSTRIAL AVE, STE 1
SAN CARLOS CA 94070




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IRA SERVICES TRUST COMPANY FBO
FLOYD PETTY IRA
CONNIE
SAN CARLOS CA 94070


IRA SERVICES TRUST COMPANY FBO
MAHNAZ SHARIFI IRA
CONNIE
SAN CARLOS CA 94070


IRA SERVICES TRUST COMPANY FBO
FLOYD PETTY IRA
1160 INDUSTRIAL AVE, STE 1
SAN CARLOS CA 94070


IRA SERVICES TRUST COMPANY FBO CONNIE
WALTZ ZDRAZIL IRA
1160 INDUSTRIAL AVE, STE 1
SAN CARLOS CA 94070


JANINE R. TROTTIER
5925 FOREST LANE SUITE 130
DALLAS TX 75230


JEANNE BAYLESS
250 BELTWAY NORTH
ABILENE TX 79601


JEFF LEINASSAR
89853 MANION DR.
WARRENTON OR 97146


JEREMY WELCH
14435 SE 19TH PLACE
BELLEVUE WA 98007


JERI CHILDS
955 E NEW HOPE DRIVE
DRAPER UT 84020


JIM AND KIMBERLY GILLAND
1065 NORTH 2125 EAST
LAYTON UT 84040




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JOHN & SUSAN THOEBALD
10140 SE 55TH STREET
OKLAHOMA CITY OK 73150


JOHN BLAKELY
8553 N BEACH ST #112
KELLER TX 76244


JOHN DAVIS
10468 CHEETAH WINDS
LITTLETON CO 80124


JOHN QUINN
8486 BENICASIM CT
LAS VEGAS NV 89178


JOHN SUTO AND BILLIE KASKA-SUTO
81814 REAVIS LANE
ENTERPRISE OR 97828


JOSEPH AND ELAIN MULREAN
PO BOX 12053
OLYMPIA WA 98508


JULIE B YOUNG
10 WARRENS WAY
BELVEDERE TIBURON CA 94920


K&D INVESTMENTS
3646 CALICO BROOK COURT
LAS VEGAS NV 89147


KAREN BIGGERSTAFF
14342 HILL PRINCE STREET
SAN ANTONIO TX 78248


KEITH ALEXANDER
12719 SHERIDAN ROAD
PLEASANT PRAIRIE WI 53158


KELLI WHITEHALL
10468 CHEETAH WINDS
LITTLETON CO 80124



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KEVIN TERRY
3010 C 63RD AVE SOUTHWEST
SEATTLE WA 98116


KIMBERLY JOHNSTON
1582 BLUEMONT CIRCLE
SALT LAKE CITY UT 84123


KRCL



LAMAR TEXAS LIMITED PARTNERSHIP
P O BOX 96030
BATON ROUGE LA 70896


LCP 30TH LLC
2150 W 29TH AVE, SUITE 410
DENVER CO 80211


LES B. COHEN
15000 7TH ST. STE 102
VICTORVILLE CA 92395


LEVELUP
ONE FEDERAL STREET, 6TH FLOOR
BOSTON MA 02110


LONEPEAK VALUATION GROUP
36 SOUTH STATE STREET, SUITE 500
SALT LAKE CITY UT 84111


MADISON TRUST COMPANY FBO
BENJAMIN CHANG
21 ROBERT PITT DR.
MONSEY NY 10952


MADISON TRUST COMPANY FBO
KEVIN WILLIAMS
21 ROBERT PITT DR.
MONSEY NY 10952


MADISON TRUST COMPANY FBO
PETER MARICICH
21 ROBERT PITT DR.
MONSEY NY 10952

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MADISON TRUST COMPANY FBO
ROBBIE MATHEWS
21 ROBERT PITT DR.
MONSEY NY 10952


MADISON TRUST COMPANY FBO
RANDY LEE HEIBEL
21 ROBERT PITT DR.
MONSEY NY 10952


MADISON TRUST COMPANY FBO
CYNTHIA HEIBEL
21 ROBERT PITT DR.
MONSEY NY 10952


MADISON TRUST COMPANY FBO
ANTHONY SHARBER
21 ROBERT PITT DR.
MONSEY NY 10952


MADISON TRUST COMPANY FBO AMY YAO
21 ROBERT PITT DR.
MONSEY NY 10952


MANSOUR AHANGARZADEH
803 WASHINGTON DRIVE
ATTN: PERSONAL
ARLINGTON TX 76011


MARK & COLLEEN MALTERUD
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EAGAN MN 55123


MCMINNVILLE WATER & LIGHT
PO BOX 638
MCMINNVILLE OR 97128


MICAH BICKEL
7109 GREENWOOD AVENUE N.
SEATTLE WA 98103


MICHAEL GAGNON
P.O. BOX 1106
OAK FOREST IL 60452



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MICKEY LYNN TURNER
16 GLEN IRIS PARK
BIRMINGHAM AL 35205


MIKE SANDERSON
1900 MCKINNEY AVE #2302
DALLAS TX 75201


MUTUAL OF ENUMCLAW INS. CO.
1460 WELLS ST
ENUMCLAW WA 98022


NEW YORK LIFE INSURANCE
28317 NETWORK PLACE
CHICAGO IL 60673


NOBLE DISTRIBUTING
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DRAPER UT 84020


NUTRITIONAL INFORMATION SERVICES
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FAIRFAX VA 22038


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25935 SW STAFFORD RD
WILSONVILLE OR 97070


PARR BROWN GEE & LOVELESS
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SALT LAKE CITY UT 84111


PATRICK AND SHAREE HOWARD
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LYNNWOOD WA 98036


PAYCOM PAYROLL, LLC
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OKLAHOMA CITY OK 73142


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PETER MARICICH
19636 SE 220TH
RENTON WA 98058


PIMA COUNTY TREASURER
115 N. CHURCH AVENUE
TUCSON AZ 85701


RANDY AND CARLENE MANTZ
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RENO NV 89533


RAY QUINNEY & NEBEKER
PO BOX 45385
SALT LAKE CITY UT 84145


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RICHARD P. MILLER
1340 SE PRISCILLA LANE
GRANTS PASS OR 97526


RICHARDSON RP PROPERTY LLC
C/P HERMANSEN LAND DEVELOPMENT
5944 LURTHER LN. STE 725
DALLAS TX 75225


ROBERT S. KRUEGER IRA ROLLOVER
1601 SHERMAN AVE #400
EVANSTON IL 60201


ROCKY MOUNTAIN POWER
1407 W. NORTH TEMPLE
SALT LAKE CITY UT 84116


SALT LAKE AREA RESTAURANT ASSOCIATION
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SALT LAKE CITY UT 84110


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SALT LAKE CHAMBER
175 EAST 400 SOUTH, SUITE 600
SALT LAKE CITY UT 84111


SAMSON EXCHANGE
2601 BLANDING AVE, C307
ALAMEDA CA 94501


SARA TRUONG
2309 NORIEGA STREET #98
SAN FRANCISCO CA 94122


SKYMAIL INTERNATIONAL INC.
1476 S 3600 W
SALT LAKE CITY UT 84104


SOUTH SALT LAKE STORAGE, LLC
3202 S. 460 W.
SALT LAKE CITY UT 84115


STANDARD RESTAURANT SUPPLY
879 S 4400 W
SALT LAKE CITY UT 84104


STEVE AND NANCY AUGUSTINE
16204 TALAVERA DE AVILA
TAMPA FL 33613


STEVEN BURKE
8410 MT. NIDO DRIVE
LAS VEGAS NV 89147


STOLLER FAMILY ESTATE
16161 NE MCDOUGALL RD.
DAYTON OR 97114


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OREM UT 84058


SUGAR HOUSE ARCHIVES & SHRED, LLC
450 EAST 2200 SOUTH
SALT LAKE CITY UT 84115



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SUNSHINE BIZ SERVICES
5379 LYONS RD 452
POMPANO BEACH FL 33073


SUPER TOP SECRET LLC
244 SOUTH EDISON
SALT LAKE CITY UT 84111


SUPERIOR LOCKSMITH INC.
7679 S REDWOOD RD
WEST JORDAN UT 84084


SUPERIOR ROOFING & SHEET METAL
3405 S 500 W
SALT LAKE CITY UT 84115


SUZANNE DOWN
2130 ARTHUR STREET
KLAMATH FALLS OR 97603


SYSCO INTERMOUNTAIN INC.
9494 SOUTH PROSPERITY RD.
WEST JORDAN UT 84081


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REVENUE ACCOUNT DIV.- BANKRUPTCY SECTION
PO BOX 13528 CAPITAL STATION
AUSTIN TX 78711


THE BERNSTEIN GROUP INC.
PO BOX 15755
SCOTTSDALE AZ 85267


THE DEDUBOVAY FAMILY TRUST
4221 CALHOUN DRIVE
HUNTINGTON BEACH CA 92649


THE FALL EVENT CENTER, LLC
9067 SOUTH 1300 WEST, SUITE 301
WEST JORDAN UT 84084


THE RANDALL & CYNTHIA SNOW FAMILY TRUST
PO BOX 11670
OLYMPIA WA 98508


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TODD ANTOVICH
12247 WATERSONG LN.
WILTON CA 95693


TRAVELERS INSURANCE



TREVOR TSUCHIKAWA
7157 171ST AVE SE
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TRIARC ARCHITECTURE & DESIGN
1934 E CAMELBACK RD, SUITE 200
PHOENIX AZ 85016


TRIPLE M ELECTRIC
240 WEST JUNIPER AVENUE, SUITE 1007
GILBERT AZ 85233


TUCSON EXPEDITING AND DEVELOPMENT LLC
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TUCSON AZ 85719


UTAH RESTAURANT ASSOCIATION



UTAH TAX COMMISSION
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ATTN: BANKRUPTCY UNIT
SALT LAKE CITY UT 84134


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VERIZON WIRELESS
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VISUALDRAFT
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WALLY AND ELIZABETH CARTER
812 PINOAK LANE
ARLINGTON TX 76012


WASHINTON STATE OFFICE OF THE ATTY GEN.
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SEATTLE WA 98104


WELLS FARGO DEALER SERVICES
P.O. BOX 25341
SANTA ANA CA 92799-5341


WHITEROCK ELECTRIC
290 E. 2150 N.
LAYTON UT 84041


WILLIAM BAER
9705 MOSS ROSS CIRCLE
DENVER CO 80219


WILLIAM C. SCHLUTER
11608 CONCORD VILLAGE AVE
SAINT LOUIS MO 63128


WP ENGINE
504 LAVACA STREET, SUITE 1000
AUSTIN TX 78701


YELP




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                                                               United States Bankruptcy Court
                                                                         District of Arizona
 In re      Even Stevens Sandwiches, LLC                                                                   Case No.
                                                                                 Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Even Stevens Sandwiches, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 21, 2019                                                      /s/ Pernell W. McGuire
 Date                                                                Pernell W. McGuire 015909
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Even Stevens Sandwiches, LLC
                                                                     Davis Miles McGuire Gardner, PLLC
                                                                     40 E. Rio Salado Parkway, Suite 425
                                                                     Tempe, AZ 85281
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